                                                                       Case 21-10549                Doc 21          Filed 07/14/22            Page 1 of 5
                                                                                                                  FORM 1
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                    Page:       1
                                                                                                 ASSET CASES
Case No:              21-10549         BAK   Judge: BENJAMIN A. KAHN                                                                          Trustee Name:                      EVERETT B. SASLOW, JR.
Case Name:            DJ TICKLE PROPERTIES, LLC                                                                                               Date Filed (f) or Converted (c):   10/08/21 (f)
                                                                                                                                              341(a) Meeting Date:               11/15/21
For Period Ending: 06/30/22
                                                                                                                                              Claims Bar Date:                   01/20/22

                                  1                                             2                     3                    4                   5                         6                         7                    8
                                                                                               Est Net Value
                                                                                                                       Property                                       Asset Fully
                                                                                             (Value Determined
                                                                          Petition/                                   Abandoned            Sale/Funds             Administered (FA)/
                                                                                              by Trustee, Less
                         Asset Description                               Unscheduled                                  OA=554(a)            Received by         Gross Value of Remaining          Lien              Exempt
                                                                                             Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                      Values                                     DA=554(c)             the Estate                  Assets                  Amount             Amount
                                                                                              and Other Costs)
 1. Pinnacle Bank Account                                                     80,000.00                60,743.08                               60,743.08                  FA                             0.00                   0.00


 2. Facility for Veterinary Practice                                       2,100,000.00                     0.00           OA                        0.00                 FA                     2,929,000.00                   0.00
     2 Storey brick building
     11,475 square feet on 2.48 acres, with detached garage

                                                                                                                                                            Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                        $2,180,000.00               $60,743.08                              $60,743.08                            $0.00       $2,929,000.00               $0.00
                                                                                                                                                         (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  3rd Interim Quarterly Report.
  During the next calendar quarter the Trustee intends to file final reports in this case.


  2nd Interim Quarterly Report.
  During the next calendar quarter the Trustee intends to file final reports in this case.


  1st Interim Quarterly Report.
  During the next calendar quarter, the Trustee will work on inspecting claims after the January 20 deadline for filing
  proofs of claim.


  Initial Projected Date of Final Report (TFR): 12/31/22             Current Projected Date of Final Report (TFR): 12/31/22


           /s/       EVERETT B. SASLOW, JR.
  __________________________________________ Date: 07/13/22
           EVERETT B. SASLOW, JR.




LFORM1EX                                                                                                                                                                                                                Ver: 22.06b
                                                           Case 21-10549       Doc 21     Filed 07/14/22   Page 2 of 5
                                                                                        FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page:       2
                                                                                    ASSET CASES
Case No:           21-10549        BAK   Judge: BENJAMIN A. KAHN                                           Trustee Name:                      EVERETT B. SASLOW, JR.
Case Name:         DJ TICKLE PROPERTIES, LLC                                                               Date Filed (f) or Converted (c):   10/08/21 (f)
                                                                                                           341(a) Meeting Date:               11/15/21
                                                                                                           Claims Bar Date:                   01/20/22
           HILL EVANS JORDAN & BEATTY, PLLC
           POST OFFICE BOX 989
           GREENSBORO, NC 27402
           Phone: (336) 379-1390
           Email: saslow@hillevans.com
           Bar Number: 7301




LFORM1EX                                                                                                                                                                       Ver: 22.06b
                                                                Case 21-10549         Doc 21         Filed 07/14/22     Page 3 of 5
                                                                                          EXHIBIT B (Form 2)                                                                             Page:      1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           21-10549 -BAK                                                                                      Trustee Name:                    EVERETT B. SASLOW, JR.
  Case Name:         DJ TICKLE PROPERTIES, LLC                                                                          Bank Name:                       Axos Bank
                                                                                                                        Account Number / CD #:           *******5535 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******3750
  For Period Ending: 06/30/22                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                     6                   7
       Transaction   Check or                                                                                               Uniform                                                      Account / CD
          Date       Reference                Paid To / Received From                      Description Of Transaction      Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                                                                                BALANCE FORWARD                                                                                                         0.00

   C     10/14/21       1        Pinnacle Financial                             Pinnacle Financial Bank Account bal          1129-000                60,743.08                                    60,743.08
                                 Cashier's Check

   C     11/01/21                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         30.29               60,712.79

   C     12/01/21                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         64.87               60,647.92

   C     01/03/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         66.96               60,580.96

   C     02/01/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         66.89               60,514.07

   C     03/01/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         60.35               60,453.72

   C     03/23/22     002001     International Sureties, Ltd.                   Prorated premium Chapter 7 blanket           2300-000                                         42.87               60,410.85
                                 Suite 420                                      bond #016036434
                                 701 Poydras St.
                                 New Orleans, LA 70139

   C     04/01/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         66.75               60,344.10

   C     05/02/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         64.48               60,279.62

   C     06/01/22                Axos Bank                                      BANK SERVICE FEE                             2600-000                                         66.56               60,213.06




LFORM2T4                                                                                                                                                                                          Ver: 22.06b
                                                                  Case 21-10549           Doc 21       Filed 07/14/22             Page 4 of 5
                                                                                             EXHIBIT B (Form 2)                                                                                           Page:     2
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               21-10549 -BAK                                                                                                Trustee Name:                    EVERETT B. SASLOW, JR.
  Case Name:             DJ TICKLE PROPERTIES, LLC                                                                                    Bank Name:                       Axos Bank
                                                                                                                                      Account Number / CD #:           *******5535 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******3750
  For Period Ending: 06/30/22                                                                                                         Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                                      Separate Bond (if applicable):


           1                2                             3                                               4                                                       5                      6                    7
    Transaction         Check or                                                                                                          Uniform                                                         Account / CD
       Date             Reference               Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)        Disbursements ($)         Balance ($)


* Reversed
t Funds Transfer                                                            Account *******5535                   Balance Forward                          0.00
C Bank Cleared                                                                                                1            Deposits                   60,743.08             1         Checks                       42.87
                                                                                                              0   Interest Postings                        0.00             8 Adjustments Out                     487.15
                                                                                                                                                                            0   Transfers Out                       0.00
                                                                                                                           Subtotal            $      60,743.08
                                                                                                                                                                                        Total         $           530.02
                                                                                                              0    Adjustments In                          0.00
                                                                                                              0      Transfers In                          0.00

                                                                                                                             Total             $      60,743.08




                                      /s/     EVERETT B. SASLOW, JR.
               Trustee's Signature: __________________________________ Date: 07/13/22
                                      EVERETT B. SASLOW, JR.
                                      HILL EVANS JORDAN & BEATTY, PLLC
                                      POST OFFICE BOX 989
                                      GREENSBORO, NC 27402
                                      Phone: (336) 379-1390
                                      Email: saslow@hillevans.com


LFORM2T4                                                                                                                                                                                                          Ver: 22.06b
                                                            Case 21-10549       Doc 21       Filed 07/14/22      Page 5 of 5
                                                                                   EXHIBIT B (Form 2)                                                                             Page:     3
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          21-10549 -BAK                                                                                Trustee Name:                    EVERETT B. SASLOW, JR.
  Case Name:        DJ TICKLE PROPERTIES, LLC                                                                    Bank Name:                       Axos Bank
                                                                                                                 Account Number / CD #:           *******5535 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******3750
  For Period Ending: 06/30/22                                                                                    Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                 Separate Bond (if applicable):


           1           2                            3                                           4                                            5                     6                   7
    Transaction    Check or                                                                                          Uniform                                                      Account / CD
       Date        Reference              Paid To / Received From                   Description Of Transaction      Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                               Bar Number: 7301




LFORM2T4                                                                                                                                                                                   Ver: 22.06b
